       Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 1 of 10




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

SERGIO VALDIVIESO,                       §
    Plaintiff,                           §
                                         §
v.                                       §
                                         §     C.A. No. 4:21-cv-02214
SOUTHERN CAT, INC., et al.,              §
    Defendants.                          §

         EMERGENCY RESPONSE GROUP, LLC’S EMERGENCY
           MOTION TO COMPEL PRODUCTION FROM SWS,
                 AND MOTION FOR SANCTIONS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Subject to and without waiving its Motion to Dismiss for Lack of

Personal Jurisdiction and its Motion to Transfer Venue, Defendant

Emergency Response Group, LLC (“ERG”) files this Emergency Motion to

Compel SWS Environmental Services (“SWS”) to respond to ERG’s written

discovery requests, and Motion for Sanctions.

                                   I.
               INTRODUCTION: RECENT FILINGS AND DISCOVERY

1.       On August 8, 2021, the parties filed their proposed Joint Discovery and

Case Management Plan (“JDCMP”). The parties agreed to exchange initial

disclosures by August 31, 2021.1



1   Dkt. 29.
     Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 2 of 10




2.     The parties participated in a scheduling conference before Magistrate

Judge Peter Bray on August 12, 2021, and this Honorable Court entered its

Scheduling Order on the same date. 2 The Scheduling Order set deadlines

including Plaintiff’s expert designations by September 30, 2021, Defendants’

expert designations by October 29, 2021, expert reports 60 days after

designation, and a discovery cut-off of January 31, 2022. 3

3.     Plaintiff and ERG timely exchanged Initial Disclosures by August 31,

2021. SWS ignored this agreed deadline. 4

4.     On September 21, 2021, this Honorable Court granted Plaintiff’s

Motion for Leave to File an Amended Complaint. 5

5.     SWS served its initial disclosures by certified mail on October 1, 2021,

31 days after the agreed deadline.6

6.     On October 5, 2021, ERG Answered Plaintiff’s Second Amended

Complaint, 7 which was the answer deadline pursuant to FED. R. CIV. P.

15(a)(3) because Plaintiff’s Second Amended Complaint was entered and

electronically served on September 21, 2021.



2 Dkt. 33.
3 Dkt. 33.
4 Exhibit A, Affidavit of Allen D. Hemphill, para. 3.

5 Dkt. 54.

6 Exhibit A, Affidavit of Allen D. Hemphill, para. 3.

7 Dkt. 61.


                                             2
      Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 3 of 10




7.     On October 8, 2021, ERG served Requests for Production on Southern

Cat, Inc. (“SoCat”) and SWS.8 These documents were served by certified

mail, return receipt requested, pursuant to FED. R. CIV. P. 5(b)(2)(C). The

answers to these requests were due on November 10, 2021 pursuant to FED.

R. CIV. P. 34(b)(2)(A) and including an additional three days under FED. R.

CIV. P. 6(d). ERG propounded additional written discovery on SoCat and

SWS on October 26, 2021. 9

8.     SWS filed its Answer to Plaintiff’s Second Amended Complaint eight

days after it was due, on October 13, 2021. 10

9.     ERG did not receive the responses to its First Requests for Production

that were due from SoCat and SWS on November 10, 2021.

10.    On November 16, 2021, after waiting for delivery by United States mail

that did not arrive, counsel for ERG wrote counsel for SoCat and SWS,

attaching a draft Motion to Compel. 11




8 Exhibit A, Affidavit of Allen D. Hemphill, para. 4 and Exhibit B, ERG’s First Requests
for Production to SWS.
9 Exhibit A, Affidavit of Allen D. Hemphill, para. 5 and Exhibit C, ERG’s Second Requests

for Production to SWS.
10 Dkt. 64.

11 Exhibit A, Affidavit of Allen D. Hemphill, para. 6 and Exhibit D.


                                           3
      Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 4 of 10




11.    Counsel for SoCat thereafter agreed to and did provide documents on

November 23, 2021. This Emergency Motion to Compel does not seek relief

from SoCat.

12.    On November 16, 2021, about 2 hours after ERG’s request for the

responses due six days before, counsel for SWS sent an email stating that

“SWS is no longer in business and there are no responsive documents to

produce that we have been able to identify.” Attached to this email were

responses that asserted boilerplate objections, offered no documentary

production, offered no withholding statements, and asserted that “SWS is no

longer in business.”12

13.    Counsel for ERG and SWS exchanged additional correspondence and

phone calls in an effort to avoid recourse to this Honorable Court. On

November 18, 2021, ERG proposed that the Motion to Compel could be

avoided if SWS would agree to provide responses consistent with the Rules

by December 1, 2021. To avoid confusion, ERG spelled out its understanding

of what is required under the Rules, including a diligent search and

withholding statements. SWS responded, on the same day, “[w]e can agree

to those terms.” 13



12 Exhibit A, Affidavit of Allen D. Hemphill, para. 7 and Exhibit E.
13 Exhibit A, Affidavit of Allen D. Hemphill, para. 8 and Exhibit F.


                                             4
       Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 5 of 10




14.      As previously, SWS ignored the deadline established by the Rules and

ignored the deadline to which it agreed. Because ERG requested electronic

service of the responses due on December 1, 2021, ERG sent a follow-up

email the next day. SWS responded that it did not complete the task,

requesting an additional two weeks to respond.14

15.      ERG contends that an additional two weeks for the first production

responses by SWS is not workable under the present deadlines. ERG

respectfully requests that SWS be compelled to properly respond because

SWS has twice failed to respond to ERG’s discovery requests and has

established a pattern of not following case management deadlines.

                                              II.
                             ARGUMENT AND AUTHORITIES

16.      ERG made its best effort to abide by the Rules and the deadlines

established by this Honorable Court. Those deadlines include the provision

of expert reports by December 28, 2021. Although this case was filed long

ago, MDL procedures and a lengthy appellate process following a dismissal

of Plaintiff’s claims resulted in essentially no discovery. ERG will not be able

to meet this Honorable Court’s deadlines if SWS continues to ignore

deadlines.



14   Exhibit A, Affidavit of Allen D. Hemphill, para. 9 and Exhibit G.

                                               5
      Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 6 of 10




17.    Before SWS elected to completely ignore the responses to ERG’s First

and Second Requests for Production, SWS ignored the agreed deadline for

the exchange of disclosures and the answer deadline established under the

Rules.

18.    As a general rule, the failure to timely object to requests for production

waives objections. In re United States, 864 F.2d 1153, 1156 (5th Cir. 1989);

RE/Max Int'l, Inc. v. Trendsetter Realty, LLC, No. H-07-2426, 2008 U.S.

Dist. LEXIS 38101, at *14 (S.D. Tex. 2008). Courts have held that Rule 33’s

waiver and good cause provisions are implicitly incorporated into Rule 34,

while other courts have recognized that it remains in the court’s discretion

not to compel discovery even if objections are untimely. RE/Max, 2008 U.S.

Dist. LEXIS 38101, at * 16-18. Evasive or incomplete responses are treated

as a failure to respond. FED. R. CIV. P. 37(a)(4).

19.    Here, SWS ignored the deadline to respond to ERG’s First Requests for

Production, provided a document captioned as a response with evasive and

incomplete responses several days after the due date, produced no

documents, provided boilerplate objections without withholding statements,

promised production of undefined documents “if any” on an unspecified

future date, subsequently agreed to a later deadline to provide appropriate

responses under the Rules, explicitly agreed to seek this Honorable Court’s


                                        6
        Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 7 of 10




protection if it could not meet its agreed discovery obligation, and then

ignored the new deadline without any pretext of abiding by its agreement.

20.       ERG respectfully requests that this Honorable Court order SWS to

provide complete responses to ERG’s First Requests for Production and

Second Requests for Production pursuant to FED. R. CIV. P. 37(a)(3)(B)(iv),

without objections, on a timetable the Court deems appropriate in view of

the pending deadlines.

21.       FED. R. CIV. P. 37(a)(3)(A) permits the imposition of appropriate

sanctions in connection with a Motion to Compel. ERG submits that

sanctions are appropriate here, where SWS willfully ignored discovery

deadlines, including the deadlines established under the Rules and a

subsequent deadline established by its own agreement. As an appropriate

sanction, ERG submits that SWS should be ordered to pay the costs incurred

in connection with ERG’s emergency effort to seek compliance by SWS. The

costs incurred through preparation of this motion were $3,415 15. As ERG is

no longer in business, it is requested that SWS be ordered to pay this sum to

ERG’s attorneys within 14 days of the Court’s order.

                                              III.
                                           PRAYER




15
     Exhibit A, Affidavit of Allen D. Hemphill, para. 10.
                                                7
    Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 8 of 10




     WHEREFORE, PREMISES CONSIDERED, without waiving its

Motion to Dismiss for Lack of Personal Jurisdiction and its Motion to

Transfer Venue, Emergency Response Group, LLC respectfully prays (1) that

the Court order SWS to fully respond to ERG’s First Requests for Production

and Second Requests for Production, without objections, by an appropriate

date set by the Court; (2) that, because ERG is no longer in business, the

Court order SWS to pay ERG’s attorneys $3,415, the cost of preparing this

emergency motion, within 14 days of the Court’s order; and (3) that the Court

order ERG to have such other and further relief, both general and special, at

law, in equity, or in admiralty, to which ERG may be justly entitled.

                                   Respectfully submitted,
                                   BROWN SIMS



                                   By: _________________________
                                       Allen D. Hemphill
                                       Attorney-in-Charge
                                       Texas Bar No. 00796740
                                       S.D. Bar No. 35337
                                       1177 West Loop South, Tenth Floor
                                       Houston, Texas 77027-9007
                                       Tel: (713) 629-1580
                                       Fax: (713) 629-5027
                                       ahemphill@brownsims.com

                                   ATTORNEY FOR DEFENDANT
                                   EMERGENCY RESPONSE GROUP,
                                   LLC

                                      8
   Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 9 of 10




Of Counsel:
BROWN SIMS
Michael A. Varner
Texas Bar No. 20499425
S.D. Bar No. 15111
1177 West Loop South, Tenth Floor
Houston, Texas 77027-9007
Tel: (713) 629-1580
Fax: (713) 629-5027
mvarner@brownsims.com




                                    9
   Case 4:21-cv-02214 Document 76 Filed on 12/10/21 in TXSD Page 10 of 10




                   CERTIFICATE OF CONFERENCE
      I certify, in accordance with FED. R. CIV. P. 37(a)(1) and the Local
Rules, that I attempted to resolve this dispute with counsel for SWS. Efforts
in this regard began on November 16, when counsel for ERG contacted
counsel for SWS when it became clear that SWS did not meet the deadline
for responses to ERG’s First Requests for Production. Counsel for ERG
believed this issue was resolved by agreement of the parties to provide proper
responses by December 1, 2021. When that new deadline was ignored,
counsel for ERG contacted counsel for SWS by email and by phone on
December 2, 2021. Counsel for ERG advised that it required complete
responses immediately or would be forced to move to compel. Counsel for
SWS indicated it was not prepared to produce documents, and SWS is
accordingly considered opposed to this Motion.



                                          _______________________
                                          Allen D. Hemphill




                      CERTIFICATE OF SERVICE
     I hereby certify that a true and correct copy of the foregoing has been
served upon all parties of record via CM/ECF filing on December 10, 2021.



                                          _______________________
                                          Allen D. Hemphill




                                     10
